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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

WYETH LLC, WYETH                                  )
PHARMACEUTICALS LLC, PF PRISM                     )
C.V., PFIZER PHARMACEUTICALS LLC,                 )
and PFIZER PFE IRELAND                            )
PHARMACEUTICALS HOLDING 1 B.V.,                   )
                                                  )
                       Plaintiffs,                )
                                                  )
                       v.                         )
                                                  )   C.A. No. 16-1305-RGA
ALEMBIC PHARMACEUTICALS, LTD.,                    )
ALEMBIC PHARMACEUTICALS, INC.,                    )   CONSOLIDATED
SUN PHARMACEUTICAL INDUSTRIES                     )
LIMITED, and SUN PHARMACEUTICAL                   )
INDUSTRIES, INC.,                                 )
                                                  )
                       Defendants.                )

          RESPONSE TO PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE
          CERTAIN EXPERT TESTIMONY BY CRAIG W. LINDSLEY, PH.D.

       Dr. Lindsley, an eminently credentialed and experienced individual in the subject matter

of the patents at issue in this case, will offer opinions that the asserted claims of the ’148 and

’625 patents are invalid in view of 35 U.S.C. § 102(a) prior art. 1 In an effort to overcome this

prior art, Plaintiffs will argue they were diligent in attempting to reduce the purported inventions

of the ’148 and ’625 patents to practice after an alleged conception date earlier than the filing

date of those patents. Dr. Lindsley disagrees Plaintiffs’ factual evidence supports their claim of

diligence. Plaintiffs want to exclude Dr. Lindsley’s testimony relating to their claims of diligence

and prevent defendants from putting forth any evidence on this topic. In their motion, Plaintiffs


1
 Dr. Lindsley will also offer opinions that the asserted claims are invalid in view of 35 U.S.C. §
102(b) and 102(e) prior art, and pursuant to 35 U.S.C. § 112. However, Plaintiffs’ arguments
about conception and diligence, which are at the heart of Plaintiffs’ motion, are only relevant to
Dr. Lindsley’s invalidity opinions involving 35 U.S.C. § 102(a) prior art.
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do not argue Dr. Lindsley lacks sufficient experience to offer his testimony, nor do they argue he

lacks an appropriate basis for his opinions. Instead, Plaintiffs sole argument is Dr. Lindsley’s

opinions will not be helpful to the Court. But Dr. Lindsley’s opinions as to industry practices and

Plaintiffs’ efforts in relation to those practices are squarely relevant to, and therefore “fit,” the

issue of diligence. Plaintiffs’ motion therefore should be denied.

I.     Factual Background

       The ’148 and ’625 patents claim methods for “treating” or “inhibiting” chronic

myelogenous leukemia (“CML”) with bosutinib, a tyrosine kinase inhibitor, and claim priority to

a provisional application filed on November 6, 2003. Dr. Lindsley will offer opinions

demonstrating those patents are invalid as both anticipated and obvious in view of 35 U.S.C. §

102(a) prior art. To get around this invalidating art, Plaintiffs are expected to try to present

testimonial and documentary evidence in support of their argument the purported inventions

were conceived as early as May 20, 2002 and that they were diligent in reducing them to

practice. Dr. Lindsley is expected to testify the evidence Plaintiffs will attempt to present does

not support their claims of diligence.

       Dr. Lindsley received his Ph.D in Chemistry in 1996 and thereafter worked in the

pharmaceutical industry as a medicinal chemist for three different companies over approximately

seven years. (D.I. 226, Ex. B at ¶ 6.) In these positions, Dr. Lindsley worked on a number of

kinase programs and became “very familiar” with CML and kinase inhibitors, specifically

developing a number of products involving both. (See id. at ¶¶ 6–7.) Through his work, Dr.

Lindsley gained significant experience relating to the conception and reduction to practice of

inventions in the general subject area of the patents-in-suit. (Id. at ¶¶ 8–9.) Additionally, since

his time in industry, Dr. Lindsley has been a professor at Vanderbilt University, where he

continues to work in drug development in partnership with pharmaceutical companies and
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employs the same industry guidelines regarding conception and reduction to practice he followed

in industry, including processes of disclosure, patent applications, and recordkeeping. (Id. at ¶

10.) Accordingly, his areas of expertise include drug discovery and development, particularly

relating to kinase inhibitors such as those detailed in the ’148 and ’625 patents. (Id. at ¶ 7.)

        Based on his extensive experience in industry and academia, specifically in the fields of

drug development, Dr. Lindsley has expressed an opinion that—even if Plaintiffs conceived of

the inventions as of the May 20, 2002—they thereafter failed to exercise reasonable diligence in

reducing those conceptions to practice. (Id. at ¶¶ 75–82.) Plaintiffs have moved to exclude Dr.

Lindsley’s opinions on this issue by arguing that the opinions “will not ‘help the trier of fact to

understand the evidence or to determine a fact in issue.’” (D.I. 226 at 4 (quoting Fed. R. Evid.

702(a)).)

II.     Legal Standard

        “[T]he permissible scope of expert testimony is quite broad, and District Courts are

vested with broad discretion in making admissibility determinations.” Hill v. Reederei F. Laeisz

G.M.B.H., Rostock, 435 F.3d 404, 423 (3d Cir. 2006). Admissibility of expert evidence is

governed by Federal Rule of Evidence 702, which “embodies a trilogy of restrictions on expert

testimony: qualification, reliability and fit.” Schneider ex rel. Estate of Schneider v. Fried, 320

F.3d 396, 404 (3d Cir. 2003). Plaintiffs here argue only that Dr. Lindsley’s testimony fails to

meet the third element, that it does not “fit” the issue of diligence. 2 (See D.I. 226 at 4.)


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  Without explaining the relevance to their motion, Plaintiffs argue “Dr. Lindsley sheds no light
on what would make him – or anyone for that matter – a ‘diligence’ expert,” and that “Dr.
Lindsley acknowledged that he has not studied, taught or published on diligence in relation to
practice.” (D.I. 226 at 4–5.) Although providing no further argument or authority on these points,
they gesture at Dr. Lindsley’s qualifications as an expert, rather than the fit of his opinions to this
case. See Betterbox Commc’ns Ltd. v. BB Techs., Inc., 300 F.3d 325, 328 (3d Cir. 2002) (noting
that qualification as an expert under Rule 702 requires “‘specialized knowledge’ regarding the
area of testimony” which “can be practical experience as well as academic training and
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        “In assessing whether an expert’s proposed testimony ‘fits,’” this Court asks “whether

[the] expert testimony proffered . . . is sufficiently tied to the facts of the case that it will aid the

[trier of fact] in resolving a factual dispute.” United States v. Schiff, 602 F.3d 152, 173 (3d Cir.

2010) (citations omitted) (first and second alterations in original). “Put another way, this is a

question of relevance, and ‘Rule 702, which governs the admissibility of expert testimony, has a

liberal policy of admissibility’ if [the testimony] has the ‘potential for assisting the trier of fact.’”

Id. (quoting Kannankeril v. Terminix Int’l, Inc., 128 F.3d 802, 806 (3d Cir.1997)) (further

citations omitted).

III.    Dr. Lindsley’s Testimony “Fits” The Issue Of Reasonable Diligence; The Motion
        Therefore Should Be Denied.

        Because Dr. Lindsley’s opinions concern industry practices specific to the

pharmaceutical industry—and the development of kinase inhibitors and CML products more

specifically—and because his opinions relate those practices to the facts of this case, his

testimony will be helpful to the Court in determining whether Plaintiffs were diligent in reducing

their purported invention(s) to practice. The opinions therefore are admissible under Rule 702

and the motion should be denied.

        Defendants will present argument the ’148 and ’625 patents are anticipated by or obvious

in view of 35 U.S.C. § 102(a) prior art. 3 In order to show that the ’148 and ’625 patents in fact

take priority over that prior art, Plaintiffs are expected to argue they conceived of the


credentials”) (citation and internal quotation marks omitted). However, Plaintiffs fail to put
forward any additional argument or any authority at all regarding Dr. Lindsley’s qualification as
an expert, and have waived this point. Fed. Election Comm’n v. O'Donnell, 209 F. Supp. 3d 727,
737 (D. Del. 2016) (holding argument waived under D. Del. L.R. 7.1.3(c)(2) because parties “are
not permitted to reserve material for a reply brief that could and should have been included in
their opening brief”).
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  Defendants will also argue that the asserted claims are invalid in view of 35 U.S.C. § 102(b)
and 102(e) prior art, and pursuant to 35 U.S.C. § 112.


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invention(s) as early as May 2002 and then exercised “reasonable diligence toward reduction to

practice from a date just prior to” that prior art. See Mahurkar v. C.R. Bard, Inc., 79 F.3d 1572,

1577–78 (Fed. Cir. 1996); 35 U.S.C. § 102(g). 4 Reasonable diligence is a question of law

“predicated on subsidiary factual findings.” REG Synthetic Fuels, LLC v. Neste Oil Oyj, 841 F.3d

954, 958 (Fed. Cir. 2016) (citation and internal quotation marks omitted). Defendants understand

Plaintiffs intend to present documentary and other evidence in addition to testimony in support of

their argument that they were reasonably diligent in reducing their conceptions to practice. 5

       In ultimately determining whether Plaintiffs have met the standard, this Court will “view

the proffered evidence as it would be viewed by persons experienced in the field of the

invention.” Brown v. Barbacid, 436 F.3d 1376, 1382 (Fed. Cir. 2006). As his report and

deposition establish, Dr. Lindsley is a person experienced in the field of the invention and

qualified to testify as to the proffered evidence: he has significant experience developing and

attempting to patent kinase inhibitors targeted at CML, the precise type of products claimed in

the ’148 and ’625 patents. (D.I. 226, Ex. B at ¶¶ 6–9.) He is familiar with industry practices

regarding the development and patenting of similar products from his work with three companies

over seven years, as well as his continuing academic career. (Id. at ¶¶ 6–11, 13; D.I. 226, Ex. C

at 84:24–86:16.) His testimony will therefore assist the Court in determining the diligence of

Plaintiffs in reducing their conceptions to practice as viewed by someone experienced in the

field: it fits this case and is admissible. See Golden Bridge Tech., Inc. v. Apple Inc., No. CIV. 10-

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  Although establishing priority in this manner is no longer permissible after the America Invents
Act of 2011, the pre-amendment statutes are effective here as the date of each patent predates the
effective date of the Act; references to section 102 are therefore to the pre-amendment statute.
See REG Synthetic Fuels, LLC, 841 F.3d at 958 n.3.
5
  Although Plaintiffs have stated that they will not be presenting expert evidence regarding
diligence, (D.I. 226 at 2 n.1), they have provided no authority or argument as to why this would
bear on the admissibility of Dr. Lindsley’s testimony under Rule 702.


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428-SLR, 2013 WL 1431652, at *2 (D. Del. Apr. 9, 2013) (denying Daubert motion as to

expert’s conclusions because “diligence and its corroboration may be shown by a variety of

activities”) (quoting Brown, 436 F.3d at 1380). And while Defendants state—without citation to

any authority—that Dr. Lindsley’s opinions are inappropriate, courts have routinely considered

similar testimony. E.g., EMC Corp. v. Pure Storage, Inc., 154 F. Supp. 3d 81, 106 (D. Del. 2016)

(affirming finding of diligence because “[t]he documentary evidence and Mr. Jestice’s expert

opinions are consistent with Dr. Li’s and Dr. Patterson’s testimony” on the subject); Fairchild

Semiconductor Corp. v. Power Integrations, Inc., 100 F. Supp. 3d 357, 369–70 (D. Del. 2015)

(considering competing experts’ opinions in deciding reasonable diligence on summary

judgment).

       The motion should also be denied to the extent it targets Dr. Lindsley’s conclusions that

Plaintiffs in this case were not reasonably diligent in reducing their conceptions to practice.

Without providing specific argument or authority, Plaintiffs imply that Dr. Lindsley’s opinion is

improper because it addresses “how the Court should decide the issue.” (D.I. 226 at 5.) But

experts “are not forbidden from offering opinions on technical matters that lead them to

particular conclusions that bear on ultimate issues in the case.” Sonos, Inc. v. D & M Holdings

Inc., 297 F. Supp. 3d 501, 511 (D. Del. 2017); see also Fed. R. Evid. 704 (“An opinion is not

objectionable just because it embraces an ultimate issue.”). And, as Plaintiffs themselves note,

they do not challenge Dr. Lindsley’s designation as an expert on the technical issues on which

his opinions regarding reasonable diligence are based. (See id. at 3 n.2.)

       Furthermore, crediting Plaintiffs’ argument—and concluding that testimony such as Dr.

Lindsley’s is inappropriate—would leave Defendants effectively unable as a matter of law to

present evidence addressing reasonable diligence. As Defendants quite obviously were not privy



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to the steps Plaintiffs took in reducing to practice the purported invention(s), the only possible

evidence they could provide on the issue would be expert testimony of the type that Dr. Lindsley

proposes to provide here. Were Plaintiffs’ motion to be granted, the Court would decide the issue

based exclusively on Plaintiffs’ side of the story which Defendants could challenge only through

cross-examination but which they could not rebut with their own case. This would be patently

unfair. Cf. Brown v. Barbacid, 276 F.3d 1327, 1333 (Fed. Cir. 2002) (noting that, in interference

proceeding before the Patent Board, “both parties must be given an opportunity to submit

evidence regarding priority”).

IV.    Conclusion

       Dr. Lindsley’s testimony will help the trier of fact determine whether Plaintiffs were

diligent in reducing the purported invention(s) claimed in the ’148 and ’625 patents to practice.

Accordingly, it is admissible under Federal Rule of Evidence 702, and this Court should deny

Plaintiffs’ motion.




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